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Fn.sc;~ a rf- ~
iN THE UNrrEn srA'rEs DisrRiCr COURT “` " ` m
FoR THE wESTERN DisrRlCr oF TENNESSEE 95 JU¢,: _5 pM 3 ,5

WESTERN DIVISION
United State ' §Y§§¥: Li::f:£ig;eé?
s of America, » v EMPH£S
Plaintiff,
vs. Civil No. OS-ZOOl-B V

One 2002 Chevrolet Avalanche,
VIN 3GNEK13T62G187620, with All
Appurtenances and Attachments Thereon,

Four Thousand Six Hundred Dollars
($4,600.00) in United States Currency,

Defendants.
QR_DLR
Pursuant to a complaint filed by the United States on jchA 9 3 , 2005,
seeking the forfeiture of One 2002 Chevrolet Avalanche, VlN 3GNEK13T62G187620, with All
Appurtenances and Attachments Thereon and Four Thousand Six Hundred Dollars ($4,600.00) in
United States Currency, under the provision of 21 U.S.C. §881(a)(6), it is hereby ORDERED:

l. That the United States Marshal for this district will seize the defendant conveyance
and the defendant currency and hold said conveyance and currency subject to the further orders of
this Court;

2. That the United States Marshal will serve a copy of the complaint on all known
claimants to the defendant conveyance and the defendant currency including, without limitation,
Vacha Lundrell Vaughn, Dana Lasha Daughtery, Pyramid Used Cars, and John Pritchard, Esq.
attorney for Dana Lasha Daughtery;

3. That the United States Marshal will advertise in the Daily News, Memphis,

This document entered on the docketsheet fn compliance
with Hu|e 58 and/or 79{a) FFICP on "'

 

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Tennessee, for a period of three consecutive weeks, once per week. The advertisement will notice
that the defendant conveyance and the defendant currency were seized by the Drug Ent`orcement
Administration on July 26, 2004, in Somerville, Tennessee, from Vacha Lundrel] Vaughn; that a
Complaint for Forfeiture has been filed pursuant to 21 U.S.C. §881(a)(6); and that any parties
claiming any interest in the said property must tile a claim within thirty (30) days of the notice and

an answer to the complaint within twenty (20) days thereafter;

 

4. The Marshal may use the attached legal notice in the advertisement
T\ "'”"
ENTERED: This la day of -Jv-<__ , 005.
@D STATES DISTRIC\T JUDGE
APPROVED:

TERRELL L. HARRIS

United Stat%d:mey@/
BY'

éi'-fRISTOPHER E. coTTEN
Assistant United States Attorney
800 Federal Building

Memphis, Tennessee 3 81 03
(#014277, Tennessee)
(901)544-4231

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02001 was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

